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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



       UNITED STATES OF AMERICA,

                        Plaintiff,               NO. 17-CR-20274
       v.
                                                 HON. BERNARD A. FRIEDMAN
       D-1   JUMANA NAGARWALA,
       D-2   FAKHRUDDIN ATTAR,
       D-3   FARIDA ATTAR,
       D-4   TAHERA SHAFIQ,
       D-5   FARIDA ARIF,
       D-6   FATEMA DAHODWALA,

                      Defendants.
       ____________________________/


                     MOTION FOR REVOCATION OF DETENTION ORDER

                  Detroit, Michigan - Wednesday, July 19, 2017


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                                       -    -   -

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  1               Detroit, Michigan

  2               Wednesday, July 19, 2017

  3               11:03 a.m.

  4                                -       -     -

  5                 LAW CLERK:    Calling case number 17-20274, United

  6   States of America vs. Nagarwala.

  7                 THE COURT:    May we have appearances, starting

  8   with the government, please?

  9                 MS. WOODWARD:      Good morning, Your Honor,

 10   Sara Woodward and Malisa Dubal on behalf of the United

 11   States.    With us at counsel table is Special Agent Kevin

 12   Swanson with the FBI, and Special Agent Lisa Keith from the

 13   Department of Homeland Security.

 14                 THE COURT:    Okay.    Thank you.   Counsel, how are

 15   you today?

 16                 MS. SMITH:    Fine, thank you.      How are you?

 17                 THE COURT:    Good.

 18                 MS. SMITH:    My name is Shannon Smith, and I

 19   represent Dr. Jumana Nagarwala, who is to my right.

 20                 MS. CHARTIER:      Good morning, Your Honor, Mary

 21   Chartier on behalf of Dr. Fakhruddin Attar.

 22                 MS. DUBAL:    Good morning, Your Honor, Matt

 23   Newburg on behalf of Farida Attar, who is also to my right.

 24                 THE COURT:    Okay.    You may all be seated.

 25                 Let the record reflect that today is the date

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  1   and time scheduled for a hearing, a motion for revocation of

  2   detention order.     The Court has had an opportunity to read

  3   the motion, have had an opportunity to read the government's

  4   response to the motion, and I've had an opportunity to read

  5   the reply to the government's motion, and the response to

  6   defendant's motion.

  7                 I also have a copy of the pretrial service

  8   report that was generated in this particular matter.

  9                 Starting with the government, is there anything

 10   else I should have before me that I do not have?

 11                 MS. WOODWARD:    No, Your Honor.

 12                 THE COURT:    And the defense?

 13                 MS. SMITH:    No, Your Honor.

 14                 THE COURT:    Okay.   This is the defense motion.

 15   You may proceed, counsel.

 16                 MS. SMITH:    Are you okay if I stay at the table,

 17   Your Honor?

 18                 THE COURT:    Wherever you feel the most

 19   comfortable is fine.

 20                 MS. SMITH:    Thank you, Judge.

 21                 Your Honor, the presumption of innocence, the

 22   facts of this case, the statutory requirements, mandate that

 23   Dr. Nagarwala be released, like every other defendant who is

 24   indicted in this case.      While there is a considerable

 25   factual dispute about what took place and what happened in

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  1   this case, those are issues for trial, and only, in part, to

  2   assess the danger that Dr. Nagarwala presents to the

  3   community.

  4                 Even in the materials that the government

  5   provided this Court in Exhibit A of their materials, one of

  6   the articles shows that there is little consensus about how

  7   the actual procedure is supposed work among the Dawoodi

  8   Bohra people who practice this procedure.         I will not

  9   belabor the Court with the facts of this case, as those will

 10   be relevant issues at trial and in future hearings, but

 11   there is certainly a dispute over the facts of the case that

 12   will be coming forward in future litigation.

 13                 With respect to this case, this is about far

 14   more than just Dr. Jumana Nagarwala.        The community that

 15   Dr. Nagarwala is from is supporting her in this matter, as

 16   the Court can see from the number of community members in

 17   the audience.

 18                 Dr. Nagarwala intends to fight this case because

 19   it is a fight about a religious practice that is sacred to

 20   not only her but also her entire community, the entire

 21   religion, and it will have impact on this community

 22   throughout the world.

 23                 Dr. Nagarwala is not intending to let any one of

 24   her community members down by fleeing or not fighting this

 25   case.

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  1                 When the Court has to consider whether Jumana

  2   Nagarwala poses a risk of flight, not only did Dr. Nagarwala

  3   tell the government of her plans to leave the country at the

  4   initial meeting in this investigation, it was the first

  5   thing she said on a wiretap phone call between herself and

  6   the forensic interviewer who was interviewing her daughter.

  7                 Dr. Nagarwala got on the phone and said, I need

  8   to talk to you today because I have travel plans to leave

  9   the country, and if I don't talk to you today, it's not

 10   going to be until the 15th when I return.         They asked for

 11   the specifics of all of her travel arrangements, she told

 12   them all of the travel arrangements and made a point to set

 13   up an appointment at her home later that day to be sure she

 14   could begin cooperating in this investigation.

 15                 Further, because there is wiretap information in

 16   this case, I have listened to April 10th through the

 17   following days where Dr. Nagarwala was aware of the

 18   investigation.     I will state for the record that she is not

 19   a seasoned criminal, and her calls are open, and the

 20   discussions on those calls provide a lot of information, but

 21   there is not one point where Dr. Nagarwala, in communicating

 22   with any of the community members, close family members, her

 23   husband, not one time does Dr. Nagarwala say, I'm getting on

 24   that flight to Kenya and I will not be coming back.          Not

 25   once does she ask somebody overseas, can I stay with you

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  1   once I get to Kenya?

  2                 There is absolutely no evidence that Dr.

  3   Nagarwala posed a risk of flight, and based on the

  4   importance of this case to her and this entire community,

  5   she will not flee the country, and adequate protections can

  6   be made to be sure of that.

  7                 While the Court is not required to consider the

  8   amount of discovery, or discovery issues, or the length of

  9   time this case will take, I do think it's an important

 10   consideration for the Court to make, and the reason is

 11   because I have received thousands of files, much of which

 12   are in another language that myself and no person in my

 13   office can understand.      My client is going to have to go

 14   through approximately 16,000 files and help me understand

 15   what they are about.

 16                 If you spend a minute on each of those files, it

 17   would take 233 hours just to listen to those files and

 18   determine what they are.      That's a substantial amount of

 19   time I will need to spend with my client to go through those

 20   materials.

 21                 Additionally, there were wiretap calls for days

 22   that are in part English and in part a foreign language.

 23   The government has provided no transcripts, no information

 24   about the specifics of what they believe those calls

 25   include.    I will also have to spend hours with my client

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  1   preparing for those materials.

  2                 As my pleadings indicate, I have received

  3   absolutely no discovery from the government with respect to

  4   the medical records of even the first two alleged victims

  5   who were from April of this year.        We have asked, as the

  6   defense team, repeatedly, for the records.         We have been met

  7   with, next week, I'm getting those to you.         For that reason,

  8   we have not filed a motion yet.       However, it has become

  9   clear this is going to be a discovery fight.

 10                 We were also told, with respect to the

 11   discovery, that the government is treating some of the

 12   photographs as if they were child pornography.         That is

 13   going to require some additional fights in this court

 14   because they are not and should not be considered like child

 15   pornography.

 16                 In addition to that, we were provided a wiretap

 17   affidavit that's approximately 70 pages long, and we were

 18   thankful to receive something in the way of discovery, but

 19   page after page of redacted information leaves us unable to

 20   assess the probable cause elements in this case, and I'm

 21   literally going page after page.

 22                 This is the example of the information the

 23   government has that they are not giving to us that are going

 24   to create serious discovery issues that we will be

 25   litigating before this Court.       That will prolong the

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  1    litigation, in addition to the fact that we believe other

  2    defendants will be added through superseding indictments.

  3                  This case, the facts of it, involved parents who

  4    brought their children Dr. Nagarwala for a procedure, a

  5    procedure that's been highly disputed back and forth.

  6    Dr. Nagarwala does not pose a danger to the community in the

  7    way that some defendants do.      She was not out, randomly

  8    attacking people, doing anything of the sort.         There are

  9    sufficient pretrial conditions that can be given to

 10    Dr. Nagarwala.    She is no longer working as a medical

 11    doctor.   She will no longer be at the Burhani Clinic, as it

 12    no longer exists.     Dr. Nagarwala is amenable to having no

 13    contact with community members, with the exception of her

 14    husband and close family members, her children.

 15                  So, Your Honor, we would ask that this Court

 16    allow pretrial release, with conditions similar to those

 17    that have been placed on the Attars.

 18                  Thank you.

 19                  THE COURT:    Thank you.

 20                  Government.

 21    (11:13 a.m.)

 22                  MS. WOODWARD:    Good morning, Your Honor.

 23                  As the Court is aware, the defendant has filed a

 24    motion for bond, and the Court's indicated that you have

 25    received our response under seal.        The briefing in this case

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  1    has been extensive, and I know that the Court is familiar

  2    with the facts contained in the pleadings, within the

  3    Pretrial Services report, the superseding indictment, as

  4    well as the briefs of the parties.

  5                  That briefing, as well as Ms. Smith's argument

  6    today, does raise many, many issues.        Obviously, there are

  7    some discovery disputes, and there is also a dispute over

  8    the nature of the procedure performed by Dr. Nagarwala, and

  9    those issues, while important, are not something that the

 10    Court needs to resolve today.

 11                  As far as discovery goes, we will continue to

 12    work with Ms. Smith and the other defense attorneys in this

 13    case to resolve our issues and fully comply with our

 14    discovery obligations, of which we are aware, and trial in

 15    this case will be the ultimate determination of the facts

 16    here, and what happened to the victims in this case.

 17                  The question for the Court today is somewhat

 18    simpler, yet extremely important to both the defendant and

 19    the government, and that question is whether the defendant

 20    will be released on bond or remain detained pending trial.

 21                  It is the government's strong position that

 22    there are simply no conditions that can reasonably assure

 23    the safety of the community, because for 12 years, the

 24    defendant, a highly trained medical doctor, cut the genitals

 25    of countless 7-year-old girls.       This was not only medically

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  1    unnecessary, but it also caused permanent alteration and

  2    damage to the genitals of these victims.        And importantly,

  3    the defendant was aware that this violation was a violation

  4    of her oath as a doctor and also illegal, but she continued

  5    to do it anyway, and her conduct demonstrates that there is

  6    no way for the Court or Pretrial Services to ensure that she

  7    will stop committing this crime and that she will not cut

  8    another child.

  9                  Of course, the motion for bond here is governed

 10    by the four factors enumerated in the Bail Reform Act, and

 11    this is a presumption case.      There is a rebuttable

 12    presumption in favor of detention due to one of the crimes

 13    that the defendant is charged with.

 14                  The first factor for the Court to consider is

 15    the nature and seriousness of the offense.         She is charged

 16    with FGM-related crimes, conspiracy to engage in FGM(female

 17    genital mutilation), substantive counts of FGM for four

 18    minor victims, as well as conspiracy to transport a minor

 19    with intent to engage in criminal sexual activity.

 20                  Female genital mutilation itself, and the crimes

 21    related to FGM, is an extremely serious crime.         It involves

 22    harm to minor victims, which is a factor for the Court to

 23    consider, and in my brief, I set out some of the background

 24    about FGM.

 25                  But even putting aside the literature on FGM,

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  1    what we know about the facts in this case are that for

  2    approximately 12 years, this defendant, a medical doctor,

  3    saw young girls at Dr. Attar's clinic.        There's no dispute

  4    that when she saw them she would pull down their pants and

  5    perform a procedure on their genitals.        This is clearly not

  6    a medical procedure, she did not bill or keep any records of

  7    these procedures.     From the medical evidence and the victim

  8    disclosures, we know that this procedure involved cutting

  9    and loss of blood.     The genitals of Dr. Nagarwala's victims

 10    were, as a result, permanently altered.        She may contend

 11    that what she did was something else, although we're unclear

 12    on what it is she contends that she did.

 13                  But the mere touching of the genitals of a young

 14    girl for no medical purpose in itself would be a violation

 15    of the law.    She was not doing this as a medical doctor.

 16    But what we have here is so much worse than merely touching

 17    their genitals.     She cut her victims severely.      And the

 18    medical evidence here is discussed in the government's

 19    brief, and as the Court knows, for some victims, the

 20    alterations to the victims' genitals were dramatic and

 21    terrible, and I draw the Court's attention to the medical

 22    results for Minor Victim 4 discussed in our brief.

 23                  And the defendant also drew victims to Michigan

 24    from other states, from around the country.         She's charged

 25    with the FGM procedure for the two victims from Minnesota,

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  1    but there are others that came here from around the country,

  2    and because she was a medical doctor, parents trusted her,

  3    and she encouraged parents to travel here to see her for

  4    this procedure.     And for the Minnesota victims alone, they

  5    would have driven 14 hours to see her at Dr. Attar's clinic.

  6                  But Dr. Nagarwala is not only charged with

  7    FGM-related crimes, she's also charged with obstructing an

  8    official -- conspiracy to obstruct an official proceeding,

  9    as well as making a false statement to a federal officer.

 10    Both of those crimes are also serious.

 11                  For the obstruction, what we know is that

 12    Dr. Nagarwala talked to Dr. Attar, and together they tried

 13    to devise a story to tell the police.        But most importantly,

 14    we know that Dr. Nagarwala talked to two parents that

 15    brought their children to her for this procedure, and she

 16    encouraged both of them not to cooperate with law

 17    enforcement, to deny that a procedure had taken place, and

 18    to affirmatively make false statements.

 19                  So the nature and seriousness of this offense,

 20    of all of the offenses here, weighs heavily in favor of

 21    detention.

 22                  The next factor the Court considers is the

 23    weight of the evidence regarding the defendant's

 24    dangerousness and risk of flight.

 25                  For risk of flight, I think the facts are not in

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  1    dispute.   What we know is that the defendant was boarding an

  2    international flight when she was arrested.         That she has an

  3    explanation for her travel does not make it less

  4    significant.    She has --

  5                  THE COURT:    The government doesn't deny that

  6    they knew that she had prearranged that trip?

  7                  MS. WOODWARD:    Agreed, yes, we don't deny that

  8    she had already made those arrangements.

  9                  THE COURT:    And that she disclosed it.

 10                  MS. WOODWARD:    She did disclose them, yes, and

 11    that -- but what's significant is that she knew of this

 12    investigation, of the Child Protective Services

 13    Investigation into her, and she decided to leave anyway.

 14                  I'm not contending -- well, I guess we don't

 15    know whether she was fleeing, we don't know whether she

 16    would have come back, but it's important that she does have

 17    significant international ties, significant financial

 18    resources, and she, in fact, did have international travel

 19    plans.   I think that that sets her apart from the Attars

 20    here, although, she's set apart from them in the facts of

 21    this case, and her conduct, as well.

 22                  The weight of the evidence with regard to the

 23    defendant's dangerousness is also extremely strong.          There

 24    is -- there are victim disclosures, multiple victim

 25    disclosures, medical evidence, parent disclosures and cell

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  1    phone evidence, and there's also strong evidence that the

  2    defendant was not deterred by her knowledge that this was a

  3    federal crime, and the evidence of the obstructive behavior

  4    is also strong.     And what this comes down to, Your Honor, is

  5    that there is simply no way that this Court or Pretrial

  6    Services can ensure that this defendant does not engage in

  7    another FGM procedure.

  8                  This procedure, referred to as khatna or khafz

  9    can be performed, and often is performed, in a house.          It

 10    does not need to be performed in a medical clinic or at the

 11    Burhani Medical Clinic.      It takes only a few minutes to

 12    complete, and there is simply no way for Pretrial Services

 13    to ensure that children are not brought to the defendant for

 14    this procedure.

 15                  The defendant could be ordered not to have

 16    contact with children, but unless she is constantly

 17    monitored and surveilled and someone is watching her front

 18    door, it's impossible to ensure that that would not happen.

 19    But what we do know is that the defendant is extremely

 20    committed to this practice.      She believes that it's

 21    important, she believes it's worth doing even though she

 22    knows it's a violation of the law, and, therefore, the risk

 23    of harm to children is simply too great, too great for the

 24    Court to take on, too great to ask Pretrial Services to

 25    monitor.

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  1                  But there's also a risk of continued obstructive

  2    behavior.    There is pressure on parents and children within

  3    this community not to cooperate with law enforcement, and it

  4    is impossible to know exactly who the witnesses to this

  5    conduct are.    It's impossible to know how many children have

  6    been cut by Dr. Nagarwala.      There's literally an endless

  7    list of potential victims and witnesses.        Most female

  8    members of her community may be witnesses in some way, and

  9    there's no way to limit her contact with all potential

 10    victims and witnesses.

 11                  The Court also considers the history and

 12    characteristics of the person, and, here, I concede that

 13    some of those history and characteristics would weigh in

 14    favor of release, but some weigh in favor of detention, and

 15    those are, her international family ties, the fact that she

 16    is currently unemployed, the fact that she has financial

 17    resources that are extensive, and a strong motivation to

 18    flee.

 19                  And I guess I would ask the Court at this time

 20    if you have any questions for us based on what you've seen

 21    in the pleadings, and everything that's before you.

 22                  THE COURT:    I have no questions at this time.

 23    Anything further that the defense wishes to say?

 24                  MS. SMITH:    No, Your Honor.    Thank you.

 25                  THE COURT:    This is a really tough case, to be

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  1    honest.   Number one, I think the arguments on both sides as

  2    to the facts is not real relevant today for me because I

  3    think there is a presumption of innocence, and the plaintiff

  4    is clothed with that, and that continues all through these

  5    proceedings, and not only today but until such time as the

  6    trier of fact makes a different determination.         So the Court

  7    is burdened with, not burdened with, but certainly has to

  8    take that as a very strong consideration.

  9                  Also, the charge itself, it's obviously a

 10    different charge that I've never seen one before, I don't

 11    think anybody has seen one before, and it does have a

 12    penalty that is very severe.      But I think I have to look at

 13    this, as I say, at least at this point, the grand jury has

 14    issued an indictment, the indictment says that there -- a

 15    crime was committed and that there's probable cause that the

 16    accused committed that crime.       What the facts are, again,

 17    the trier of fact will determine.

 18                  The nature of the crime in this matter, I think

 19    everybody agrees, and I heard it many times from both sides,

 20    it is a religious belief that generated that.         Every kind of

 21    crime has some kind of motive, and motive is not always the

 22    consideration, but here, I don't think anybody disagrees

 23    that the motive was a religious motive, and, of course,

 24    during the proceedings, I've already been exposed to it in

 25    the pleadings, constitutional rights, and so forth, will be

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  1    discussed.

  2                  My main thing is I think we can fashion

  3    something that will protect the public because we can

  4    fashion something that will be able to, in real time, trace

  5    her movements, and so forth.

  6                  My big concern in this particular matter is one

  7    of flight, and I understand that she has very strong ties to

  8    the community here in Detroit and to the United States.           She

  9    is well educated, and that should not be held against her,

 10    by any means, but this particular case does involve a

 11    penalty that's very, very severe, and no matter what one's

 12    beliefs may be, it's still a severe penalty that will impact

 13    the defendant and will impact, of course, all of those loved

 14    ones that she cares about.

 15                  It's just a very tough, tough decision.        I've

 16    been trying to figure out some way of being able to satisfy

 17    myself in terms of being able to guarantee, for lack of a

 18    better word, no flight, that she will appear when and where

 19    directed, and take into consideration that, along with the

 20    presumption, and see if there's something that can overcome

 21    the presumption, and as I say, I've gone back and forth, and

 22    so forth, I've thought about different ways of doing it, and

 23    because of the nature of the potential penalty in this

 24    particular matter, I'm not so sure that I can come up with a

 25    solution that will guarantee her appearance when and where

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  1    directed by the Court.

  2                  And the community strength and backing is very

  3    important, but it's a double-edged sword, because, on the

  4    same token, it can be used to argue that perhaps that would

  5    be a good source of flight, and so forth.

  6                  So as of today, I have tried to come up with

  7    some way.    I've thought about the GPS, I've thought about,

  8    as we've done before, some kind of special housing in terms

  9    of, so that there can be some communication.         I think the

 10    assistance of counsel argument is very, very important, and

 11    especially in this case where there are some language

 12    issues, and other things.

 13                  As of today, I can't come up, in my mind, with

 14    anything that would overcome that presumption at this time.

 15    Again, I'm not concerned about the harm to the community.           I

 16    think that we can do that very adequately.         I am concerned

 17    about the flight, and I just, I think, at this point,

 18    because of the presumption, that I have to not grant the

 19    motion today.

 20                  But counsel I'd like to hear if you have

 21    something else, that's why I'm here, if there's something

 22    else that you can enlighten me on that --

 23                  MS. SMITH:    Your Honor, I would just like to

 24    state for the Court that my client's passport has already

 25    been surrendered, that the passports of her two minor

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  1    children have already been surrendered in the Child

  2    Protective Services matter; that, while Dr. Nagarwala has

  3    international ties, she has far more substantial ties here.

  4    She's not going to leave her children, husband, parents, and

  5    all the loved ones she cares about.

  6                  I just would ask the Court to do something

  7    similar to what was done for the Attars.        She could be

  8    placed on a GPS tether, not allowed to leave even a room, a

  9    hotel room, or her house, she would not be able to leave

 10    without them being able to track where she is going.          And so

 11    I do believe there's conditions that can be put in place to

 12    make sure she stays put.      And she will stay put, especially

 13    without a passport or any means to be able to secure those

 14    things.

 15                  I don't see that she's in any different

 16    position, really, than the Attars, and so --

 17                  THE COURT:    The difference in position, to be

 18    honest with you, and I've thought about this ever since you

 19    filed your motion, and the difference is that she is going

 20    to be subject to a much more severe penalty, number one.

 21    Number two is that, in terms of -- again, I don't know the

 22    facts, and I'm not here to discuss the facts, but at least

 23    as to the involvement, we know that hers was a different

 24    kind of involvement than the other defendants, and the only

 25    reason that has any significance is because those kinds of

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  1    things go towards the penalty or the imposition of sentence,

  2    and therefore she is facing a much more severe sentence,

  3    and, therefore -- and again, I'm not saying she would do

  4    this, but she certainly has the -- she's in a different

  5    position in making a decision whether or not she should flee

  6    or not flee, than the others are in this case.

  7                  And I'm not suggesting that she would make that

  8    decision, I'm suggesting that I know, and I've seen it

  9    before, that you don't need travel documents to get out of

 10    this country.    You can get out of this country without

 11    travel documents, and so forth.

 12                  MS. SMITH:    I do want to clear it up for the

 13    record that Dr. Attar faces the same presumption

 14    Dr. Nagarwala does.     They are both charged with traveling

 15    with intent to commit a sexual act.

 16                  THE COURT:    I understand.

 17                  MS. SMITH:    That crime, when you look at the

 18    Mann Act and the prodigy of the Mann Act and everything

 19    that's come before, it's not the right crime to charge

 20    either one of these defendants with.        So she really is not

 21    in a much different position from Dr. Attar in terms of the

 22    charges, the penalty she faces, and also that same argument

 23    that Ms. Chartier put together the last time we were in

 24    court about how that life offense is not even really the

 25    appropriate charge, and it's something we intend to file a

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  1    motion on.

  2                  THE COURT:    I can't get into that because I

  3    don't know, and I would not want to make a factual

  4    determination.    All I know is that the grand jury made a

  5    determination that that was the charge, and that they had --

  6    if they had done their job, which I assume they did, that

  7    they made that determination, and that they made -- and that

  8    that crime had been committed and that there's probable

  9    cause to believe that the accused committed it.

 10                  So I have to take that, at least that, because I

 11    haven't heard any testimony, and I don't want to make any

 12    findings of fact, but at this point, and I'm not saying

 13    that -- as I say, I think with the presumption of innocence,

 14    I'm trying to weigh her right to presumption of innocence

 15    with the right of society to make sure that she doesn't

 16    flee.   I haven't been able to come up with something that

 17    would convince me that the presumption has been overcome.

 18                  And I understand.     I've been thinking about GPS,

 19    I've been thinking about, you know, some custodial, and also

 20    thinking about your client.      I think she's well trained,

 21    she's a citizen, she was born here, her kids are here, her

 22    mother-in-law is here, and so forth.        That would be a lot to

 23    leave, but it's also, in terms of the incentive to leave,

 24    the penalty is so great that there is a large incentive to

 25    leave at this point.     That does not overcome the

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  1    presumption.

  2                  So at this point, I'm going to deny the motion,

  3    and I say at this point because, certainly, I would be more

  4    than happy to look at it again if there's some things that

  5    change, or if there's some situations that maybe more

  6    assurances could be given and I can be convinced that the

  7    presumption perhaps can be overcome.        But as I say, my

  8    concern is only that the issue of appearing when and where

  9    directed, I don't think -- I think we can do a lot in terms

 10    of making sure that the community is protected.

 11                  So as of today, I'm going to deny the motion,

 12    but I certainly, if you come up with something that perhaps

 13    can give us some more assurances, I'd be more than happy to

 14    look at it.

 15

 16                  But there's another issue I think we have to

 17    talk about also today while we have everybody here, and all

 18    the parties.    I'm concerned about discovery, and I'm looking

 19    at the government.     I don't think there should be a fight

 20    over discovery in this case for a couple reasons.           Number

 21    one is, I'll tell you right now, I believe, especially in a

 22    case like this, that there has to be some good discovery

 23    because otherwise this case will linger on, and on, and on,

 24    and it won't be fair to anybody at all.

 25                  So I can't -- I'm not in a position to make any

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  1    rulings on discovery; however, just my thought, in terms of

  2    the language barrier, if the government is turning over

  3    information and it's in a language other than English, and

  4    they have a transcript or they have it already interpreted,

  5    I'm telling you right now, I'm going to order that any

  6    transcripts you have, anything that's already interpreted,

  7    to make sure that it goes to the defense because there's no

  8    reason that they have to be put to the expense and the time,

  9    and everything else, if the government already has it.            And

 10    if we ever went to trial in this matter, it's going to be

 11    used by the government, and, therefore, we'll save a lot of

 12    time in terms of verification and credibility of the

 13    interpretation.

 14                  Again, page after page of redacted, it could be

 15    right, it could be wrong, I don't know, and I'm not making a

 16    ruling.   However, I think -- and again, there has been some

 17    argument today that the government may have other people in

 18    mind they want to indict.      I'm urging the government to do

 19    it ASAP because we want to move this case.        It's not fair to

 20    the defendants, it's not fair to their community, it's not

 21    fair to the issue that we don't move this case, and move it

 22    along in an appropriate manner so that we can bring it to

 23    trial, and to be able to discuss those issues which each

 24    side has raised throughout the proceedings so far.

 25                  And last but not least, please work together in

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  1    terms of discovery, and if you have a dispute maybe

  2    somewhere down the line, what we'll do is, and, again, talk

  3    about it, and so forth, and we'll have discovery hearings

  4    every once in awhile so that we can get this thing moving.

  5    I don't want to be inundated with paper all the time, and

  6    the expense and time of going through it, so if you get to a

  7    point where it really is becoming a fight, so to speak, then

  8    file a motion, let me know, and then we will talk about some

  9    kind of discovery program.

 10                  Okay.   Anything else that we should talk about

 11    today?

 12                  MS. WOODWARD:    No, Your Honor.    I'll just

 13    respond to what you said, and I understand what you're

 14    saying, and we will comply with our discovery obligations as

 15    you've directed, and as we intend to do.

 16                  THE COURT:   Okay.

 17                  MS. WOODWARD:    If there's something we can't

 18    resolve, we'll let you know.

 19                  THE COURT:   Okay.   Discovery obligations -- I

 20    appreciate that, and I know your office always does, but

 21    your office generally has a broader policy than just

 22    obligations.

 23                  MS. WOODWARD:    Sure.

 24                  THE COURT:   And I would ask that it carry over

 25    to this case, as well.

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  1                  MS. WOODWARD:    Understood.

  2                  THE COURT:   Okay.   Counsel.

  3                  MS. CHARTIER:    Your Honor, it's been three

  4    months, and in all due respect, we keep hearing the same

  5    thing, that the government will comply with their discovery

  6    obligations.    I don't believe they have.

  7                  They repeatedly have said that we'll get things

  8    like medical records, and it's been three months that it's

  9    been in their possession and we haven't got it.

 10                  So is it possible to get a firm date, so then we

 11    know if we don't have them, for example, by Friday that we

 12    will be filing a discovery motion with the court.           We keep

 13    holding back on that because we keep getting assured that

 14    they're coming, and they're not coming.        So I don't know if

 15    the government is willing to give us that date today, or, if

 16    not, we'll just go back and file our discovery motion.

 17                  THE COURT:   Okay.   Let's talk about one thing,

 18    since we have everybody here.      Tell me what's outstanding

 19    that you think should have already been provided to you.

 20                  MS. CHARTIER:    Again, I understand the Jencks

 21    Act, and we'd love to get that, and we certainly hope we get

 22    that in advance of trial.      But medical records, we keep

 23    hearing --

 24                  THE COURT:   Let's talk about medical records.

 25    When will they receive medical records?

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  1                  MS. WOODWARD:    I'm happy to respond, Your Honor.

  2                  As of right now, there are CDs being burned for

  3    the defendants.    I need to check them and make sure they're

  4    ready to go out today or tomorrow, but those are under way,

  5    the medical records.

  6                  MS. CHARTIER:    So that would be by this week,

  7    then?

  8                  MS. WOODWARD:    Correct.

  9                  THE COURT:   By Friday.

 10                  MS. CHARTIER:    There are also videos and

 11    photographs of the medical procedures.        Ms. Woodward has

 12    indicated they're treating them as child pornography and

 13    they will not be turning them over to us.

 14                  MS. WOODWARD:    That's an unfair

 15    characterization.

 16                  THE COURT:   Okay.   Tell me what your position

 17    is.

 18                  MS. WOODWARD:    My position is these are videos

 19    and images of children's genitalia.       They are incredibly

 20    sensitive.    That we will make them available to the defense

 21    to view as we are required to do, but that we will not be

 22    turning over copies of this very sensitive material.

 23                  I explained to Ms. Chartier that we have a

 24    procedure in place to do that, and likened it to child

 25    pornography, that I have an obligation to provide to the

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  1    defense an opportunity to review, but I do not give out

  2    copies.   This is the practice of child abuse pediatricians

  3    who I've consulted with, not to turn over these images and

  4    videos.

  5                  THE COURT:   Well, I think that we can do that

  6    with the defendants that are out right now.         As to

  7    Dr. Nagarwala, how do you suggest -- she has a right to see

  8    those also.    How do you suggest that that's accomplished?

  9                  MS. WOODWARD:    Arrangements can be made for her

 10    to view them in the facility.      We do that in child

 11    pornography cases when the defendants right have the right

 12    to see the evidence.

 13                  THE COURT:   And you're willing to do that as

 14    soon as arrangements can be made, is that correct?

 15                  MS. WOODWARD:    Yes.

 16                  Now, those photographs and videos are not

 17    currently in my custody.      They're in the custody of the

 18    child abuse pediatricians that did the exams, so we need to

 19    work with them to come up with a procedure, whether we use a

 20    secure, end-to-end encrypted digital way for the defense

 21    attorneys to view them in their office, or whether we make

 22    them available at the FBI, are the sorts of things I want to

 23    discuss with --

 24                  THE COURT:   Why don't you get together by next

 25    Friday so you have an answer to that.        I think it's an

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  1    important consideration as part of their preparation,

  2    especially what they've indicated in their pleadings, that

  3    this would be very important to view.

  4                  MS. CHARTIER:    Absolutely, Your Honor.

  5                  THE COURT:   If you feel, after viewing it, that

  6    it limits you and that there's some reason that this

  7    particular arrangement would not be acceptable from a

  8    defense standpoint, then you'll let me know.         But at least

  9    try it, work out some arrangement, talk to your doctors,

 10    people that you have to talk to so, again, by late Friday

 11    you have some arrangement on how to make this thing happen.

 12                  MS. CHARTIER:    Your Honor, I can tell the Court

 13    right now, I've indicated this to Ms. Woodward, the problem

 14    with us coming down and viewing them, for example, at the

 15    FBI office, is not just related to our clients or

 16    Dr. Nagarwala, but it's also related to our experts.           Our

 17    experts are potentially all around the country.

 18    Ms. Woodward had indicated there may be a way to work around

 19    that if we provide information about our experts to the

 20    government.    I don't believe that we have to do that.

 21                  THE COURT:   I don't believe you have to do it.

 22                  MS. CHARTIER:    I agree.   So that's why we --

 23    we're officers of the court.      Even if they are treated akin

 24    to child pornography, they're not child pornography.           We

 25    signed a protective order, we're not going to be

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  1    distributing those photographs and the video, but in terms

  2    of preparing a defense for our clients, we need access to

  3    that, and we need access to those materials to share with

  4    our experts.

  5                  THE COURT:   Okay.   But not to give to your

  6    experts, necessarily.

  7                  MS. CHARTIER:    They could view them, for

  8    example.   I mean, this is no different than any other case.

  9    These are medical records, they're not child pornography.

 10    The doctor who created them hasn't been charged with child

 11    pornography.

 12                  THE COURT:   But there's a real interest in

 13    making sure that they're not disseminated anywhere.           And you

 14    are officers of the court, we do have a protective order.            I

 15    think both sides can be satisfied.        I think you have no

 16    obligation to tell the government who your experts are at

 17    this point.

 18                  I suspect, I hope -- you have to show these

 19    things to the expert before you know their opinion, and you

 20    certainly don't want to disclose who they are until such

 21    time as --

 22                  MS. CHARTIER:    Correct.

 23                  THE COURT:   -- as you decide that you may or may

 24    not use them as experts, or use them in any capacity you

 25    want.

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  1                  Number one is, I think you should, by the end of

  2    the week, be able to have the attorneys and the clients be

  3    able to see these first.      Then, if you can't work out some

  4    way, under a protective order of some kind, for the experts

  5    to see them, and I think the suggestion that the use of the

  6    attorney as the vehicle for showing them to the expert

  7    without the expert having a copy, or anything of that

  8    nature, until such time as it's needed, probably is a good

  9    solution.

 10                  But see if you can work it out.       If not, let me

 11    know, file a motion.     As I say, and I'm more than happy to

 12    do that.    But err in favor of more information than less.

 13    I'm not going to interfere with Jencks or the government's

 14    rights, because the government has rights also, very strong

 15    rights.    But on the same token, err in favor of the

 16    credibility of the lawyers on both sides in this matter

 17    being able to exercise their obligation under protective

 18    orders, and so forth, and see if you can work it out.           If

 19    you can't, let me know.

 20                  I want to move the case as quickly and rapidly

 21    as we can.    It's an issue that has to be decided one way or

 22    the other, and it is an issue that I know is of public

 23    interest, and should be.      Let's move it as quickly as we

 24    can.

 25                  MS. WOODWARD:    Just to clarify, Judge, you

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  1    mentioned by Friday.     I want to be clear on what our

  2    obligations are.     So today is Wednesday.     We will have a

  3    conversation and attempt to come up with a process for that.

  4                  THE COURT:   Yeah, maybe Friday is a little soon.

  5                  MS. WOODWARD:    They can't -- I don't think it

  6    would be possible to make them available for them to view by

  7    Friday.

  8                  THE COURT:   No, no, I'm hoping by Friday, you'll

  9    sit down, you'll talk about it, you'll work something out,

 10    and if you can't, you'll let me know.        And Friday wasn't the

 11    deadline to actually turn it over, but, like, the medical

 12    records, I mean --

 13                  MS. WOODWARD:    I understand the medical records

 14    were different, and they will have those by Friday.

 15                  THE COURT:   And I think that the other documents

 16    are going to be important to them, too, but that may take a

 17    little bit more in terms of how do we do it, how do we show

 18    it to, you know, the defense may have to keep a log of who

 19    they show it to without disclosing it to the government.

 20    And that will protect all the defendants as well as have a

 21    log of who they show it to.

 22                  And the order, the protective order always --

 23    has already stated that they can't -- that it's on an

 24    as-needed basis, so it's not -- they're going to have to

 25    abide by that protective order, too.        I think you can work

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  1    it out.   I said Friday, maybe just to put pressure on both

  2    sides to get it done so that we're not back here.

  3                  MS. CHARTIER:    Two other issues as it relates to

  4    discovery.    The redaction Ms. Smith showed, pages and pages,

  5    will that also be available Friday, at least partially

  6    unredacted?

  7                  MS. WOODWARD:    It's on the same CDs that we're

  8    burning right now.

  9                  MS. CHARTIER:    Great.   Thank you.

 10                  And the final issue, and this may be the subject

 11    of speaking with Mr. Hinojosa and the government, and filing

 12    a motion, if needed, but Ms. Smith is correct in terms of

 13    the number of hours that it will take to go through the

 14    phone calls.    Currently, Dr. Attar and Mrs. Attar can't do

 15    that without a lawyer present, or someone from my firm,

 16    because they can't have access to a computer.

 17                  So one of the issues is, while we like spending

 18    time with them, it's a lot of hours to spend, and it will

 19    drag on for months.     If they had access to a computer, even

 20    without internet access, they would be able to listen to the

 21    phone calls themselves and not have to do it in our office.

 22                  So I would ask the Court to consider that now.

 23    If not, we can see what we can work out, and file a motion

 24    if needed.

 25                  THE COURT:   Pretrial, if we -- if we --

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  1                  Well, a computer that came from your office?

  2                  MS. CHARTIER:    Yes, with no internet access.

  3                  THE COURT:   No internet access, and it would be

  4    totally erased except for those documents that have been

  5    provided to you by the government so that they can listen to

  6    it.

  7                  MS. CHARTIER:    Correct.   The documents are

  8    actually on an external hard drive.       So they would have a

  9    computer with essentially nothing on it, and then the

 10    external hard drive with the documents from the government.

 11                  THE COURT:   And there won't be anything on

 12    there, no WordPerfect or any --

 13                  MS. CHARTIER:    Nothing.   They have to hand write

 14    their notes even now, to us.

 15                  THE COURT:   Any problem with that?

 16                  MR. HINOJOSA:    No, Your Honor.

 17                  THE COURT:   That's fine.

 18                  MS. CHARTIER:    Thank you.

 19                  THE COURT:   I suspect that we're going to have

 20    pretty much the same thing for Dr. Nagarwala, wherever she's

 21    being housed, so that she can review it for you, also.

 22                  MS. SMITH:   Yeah, and the complication, and the

 23    reason it's so difficult is because in my office I have to

 24    use three different laptops to access the types of files

 25    they have.    I have three different laptops, but it's not

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  1    just as simple as, here's a laptop, go ahead and go through

  2    it.   I literally have a stack of laptops we use to go

  3    through the materials in this case.       I can't drop off a

  4    stack of laptops to the jail.      So I need some direction from

  5    the Court on what I can do, but that's -- I need her help, I

  6    need her to be able to do that.

  7                  THE COURT:   I understand.     I don't know exactly.

  8    I mean, if you can do it to one -- I just don't know.           Why

  9    don't you talk to the government, talk to -- apparently, you

 10    can put it all on one.

 11                  MS. CHARTIER:    Well, I say that, but I'm not the

 12    tech person in our office.      So I know that everything is on

 13    an external hard drive, and I'm going to ask the tech

 14    person.   If there's a problem, I'm sure I'd be contacting --

 15                  THE COURT:   Yeah, or just do it piecemeal.         Take

 16    one computer, download on an external hard drive, everything

 17    else is wiped out, and when she's through doing that, you'll

 18    bring her another one. Same thing here.

 19                  MS. CHARTIER:    I don't know if it's the same --

 20                  THE COURT:   I'm not a computer person, I have no

 21    idea.   I know it can be worked out, so --

 22                  MS. CHARTIER:    The access is something that I

 23    don't know if you would know that, but, for example, when

 24    Dr. Attar was in Milan, we had made those arrangements

 25    initially, and then when I went to Milan, they said

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  1    absolutely not.

  2                  THE COURT:   I know.       I think when Jamie from the

  3    Marshal's service was here, every jail is different.           So

  4    we'll have to cross those bridges when we get to them, and

  5    go from there.

  6                  MS. SMITH:   Thank you.

  7                  THE COURT:   Okay.   Anything else?     Okay.    Thank

  8    you.   We stand in recess.

  9                  (Proceedings concluded at 11:46 a.m.)

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 11

 12                          C E R T I F I C A T I O N

 13

 14    I, Suzanne Jacques, Official Court Reporter for the United

 15    States District Court, Eastern District of Michigan, Southern

 16    Division, hereby certify that the foregoing is a correct

 17    transcript of the proceedings in the above-entitled cause on the

 18    date set forth.

 19

 20

 21    s/ Suzanne Jacques__                               August 6, 2017
       Suzanne Jacques, RPR, RMR, CRR, FCRR                Date
 22    Official Court Reporter
       Eastern District of Michigan
 23

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